Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1022 Page 1 of 15




EXHIBIT B
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1023 Page 2 of 15




                             I.INITED STATES DISTRICT COURT
                    FOR THE DISTzuCT OF UTAH, NORTHERN DIVISION




JOSHUA CHATWIN,
          Plaintiff,

               VS                                              No. 2:14-cv-375

 DRAPER CITY, et al.,                                          Report of Kenneth R. Wallentine
                Defendants                                     in response to Trevor B. Petersen
                                                               report




        The following report of Kenneth R. Wallentine is submitted after review of the following

 documents, pleadings, records, and reports:

        Draper City Police Department report and DUI report

        Draper City Police policies relating to use of force

        Joshua Chatwin deposition transcript

        Joshua Patterson deposition transcript

        Mehdi Mahmoudi deposition transcript

        David Harris deposition transcript

        John Eining deposition transcript

        Heather Baugh deposition transcript

        Kathy Torrence deposition transcript

        Steven Merrin deposition transcript

 Chatwin v. Draper City, et al.
 Report of Kenneth R. l(allentine
 in response to Trevor B. Petersen
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1024 Page 3 of 15




        Jason Scott deposition transcript

        Miscellaneous photographs relating to incident

        Kirk Torgensen report

        Trevor Petersen report

        This report of Kenneth R. Wallentine is submitted in response to the report of

 Trevor B. Petersen.

        Kenneth R. Wallentine states as follows:

 1.     Officer Patterson's most immediate concem at the very instant that he perceived

 plaintiff s grasp on his gun was to prevent plaintiff from drawing the gun and the predictable

 disaster that would very likely ensue. I am familiar with the technique suggested by Mr.

 Peterson, executed by holding the subject's hand with the officer's overlying hand and following

 through with inflicting pain compliance techniques and moving the subject away from the gun. I

 have seen this technique taught and practiced in countless Utah Police Academy training

 sessions, though I have not seen it taught for use with a person already in handcuffs. Almost

 every time, the subject is quickly and forcefully moved to the ground.




        Mr. Petersen suggests that the technique used by Officer Patterson in his urgency to

 prevent plaintiff from controlling a gun should not have been successful. Officer Patterson

 stopped plaintiff from exercising further control over the gun and did so without allowing

 plaintiff to maintain a hold on the gun and withdraw the gun. I concur that there are many points

 on which Mr, Petersen speculates in hindsight of the incident, such as how Officer Harris might

 have felt about plaintiff s likelihood of becoming a violent threat, that possibly might have


 Chqtwin v. Draper City, et al.
 Report of Kenneth R. Wallentine
 in response to Trevor B. Petersen                 2
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1025 Page 4 of 15




brought a different result. Examining the facts knorvn, however, it is apparent that Officer

Patterson used a reasonable technique that prevented plaintiff from drawing the gun from the

holster.

           Assuming Kathy Torrence's account to be factually-based, Mr. Petersen posits that

plaintiff perchance might not have been injured if additional officers were standing close by at

 the moment that plaintiff grabbed Ofhcer Patterson's gun. Being equally uncertain of what could

 have happened under different circumstances, I concur that it is speculatively conceivable that

 plaintiff might not have been injured if additional officers had been present, not occupied by

 other duties, and those officers were able to perceive plaintiffls actions and instantly and

 effectively react to plaintiff grabbing at Officer Patterson's gun, Notwithstanding abstract

 speculation of what might have happened under a different set of circumstances, Officer

 Patterson used proper force and adequate procedures designed to ensure the safety ofthe officers

 and plaintiff.

           Officer Patterson was trained and tested on arrest control techniques during the Utah

 Police Academy basic training. That training curriculum includes training to arrest impaired

 persons. Draper City also trained its officers on arresting persons. Both Officer Patterson and

 Deputy Chief Eining described some of the methods taught to officers for taking impaired

 persons into custody. One such method involves placing an intoxicated position into a kneeling

 or prone position, assuming that the intoxicated person does not resist efforts to execute the

 technique.

           The methods that Officer Patterson and Deputy Chief Eining described are consistent

 with training objectives in use at the Utah Police Academy at the time of plaintiff s anest. Utah

 Chatwin v. Draper CitY, et al.
 Report of Kenneth R. llallentine
 in response to Trevor B. Petersen                  J
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1026 Page 5 of 15




law enforcement agencies generally recognize that training as sufficient to prepare an officer to

arrest an impaired person. No matter what training is provided to prepare an officer to take an

impaired person into custody, there are factors over which the officer has little or no control and

which can thwart the best-laid training plans.

        Plaintiff chose his moment and his place to grab Officer Patterson's gun, Plaintiff did not

choose to do so when he was standing on grass. He chose to grab the gun while standing on a

hard surface. Neither Offrcer Patterson nor any other person beside plaintiff had a part in the

chosen location. I can speculate that plaintiff might possibly not have been injured if he had

 grabbed Officer Patterson's gun when they were both on softer ground. Police don't get the

 choice to arrest all persons on bounce house air cushions. At some point, virtually all arrestees

 traverse concrete and asphalt as they are being taken into custody, put into a police vehicle

 (parked on a roadway) and driven to the jail (where they get out and traverse a long concrete

 walk to the receiving area). Officers have to respond to force used against them at the location of

 the subject's choosing.

        Officer Patterson did not use excessive force under the circumstances presented by

 plaintiff. Arrest control techniques are commonly less effective with an impaired person. The

 officer may initiate a control technique trained and practiced dozens of times in the training

 center, only to have an impaired person torque and twist in a way that defeats or diminishes the

 effectiveness of the particular tactic. Officer Patterson tried to stop plaintiff and did stop plaintiff

 from obtaining a gun. There can be little doubt that the consequences of not acting decisively

 and quickly to prevent plaintiff from grabbing a gun would have been tragic for all involved.




 Chatwin v. Draper City, et al.
 Report of Kenneth R. Wallentine
 in response to Trevor B. Petersen                  4
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1027 Page 6 of 15




2.      ln reaching my opinions in this matter I have relied upon my training and experience in

public safety acquired throughout my career, A summary of my qualifications, publications,

 litigation history and fee schedule are recited herein.

 3.      My qualifications as an expert in this subject matter include the following: I am a

 law enforcement off,rcer in the State of Utah. I became certified as a law enforcement officer in

 the State of Utah in 1982. Until April l,2Ol4,I was employed with the Utah Attorney General,

 where I served as the Chief of Law Enforcement. I am currently employed as a Special Agent

 with the Utah Attorney General Investigation Division, coordinating use of force training and

 force investigation training throughout the state. I also work part-time as a consultant and Senior

 Legal Advisor for Lexipol.

         I was formerly employed as a Bureau Chief at the Utah Department of Public Safety,

 Peace Officer Standards and Training Division, where I supervised investigations into allegations

 of improper and excessive force, officer integrity, and criminal acts alleged to have been

 committed by law enforcement offlrcers and supervised in-service training administration and

 certification for all peace officers in the State of Utah. I also supervised the police service dog

 training and certification program for the State of Utah. I had responsibility for policy drafting

 and review for the parent agency, the Utah Department of Public Safety.

         My duties included direct supervision and command of various investigative units and

 agents throughout the State of Utah, supervising law enforcement officers, forensic specialists,

 and technicians. I commanded the State of Utah Child Abduction Response Team. I

 commanded the State of Utah Officer-Involved Fatality Investigation Team' I am a member of

 the Board of Review of the Utah Technical Assistance Program, consulting in cold case homicide


 Chatwin v, Draper CitY, et al.
 Report of Kenneth R. Lltallentine
 in response to Trevor B. Petersen                   5
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1028 Page 7 of 15




and complex violent person crimes investigations. In 2010, Govemor Herbert selected me for

the Governor's Leadership in Public Service award for my work in public safety leadership.

        I was formerly responsible for providing delivery of the Basic Training Curriculum

related to all legal subjects, as well as certain tactical subjects, at the Utah Law Enforcement

Academy. I continue to teach at the Utah Law Enforcement Academy. I am the author of the

police academy curriculum currently in use for several subjects, including, but not limited to, use

of force, reasonable force, use of force and police service dog teams, search and seizure, search

and seizure for police service dog teams, and use of force/firearms instructor liability.

        I regularly teach in the following specialized courses: Advanced Officer Course, Firearms

Ilstructor Course, Utah Sherifß' Association Cornmand College, First Line Supervisor Course,

POST K9 Unit Administrator Course, POST Patrol Dog Handler Course, POST Narcotics

Detector Dog Course, and others. I am a former police service dog handler and worked with the

Uintah County Sheriffls K9 Unit from 1995 to 2001. I continue to provide instruction and

 evaluation services for the POST Police Service Dog program.

        I am a certified POST Firearms lnstructor, often serving as the lead instructor for POST

 Firearms courses. I am a certified TASER@ lnstructor. I am a certified Excited Delirium and

 Sudden Death lnvestigation lnstructor. I was certified by the Los Angeles Police Department in

 Officer-lnvolved Shooting Investigation. In cooperation with the Utah Sheriffs Association and

 the Utah Jail Commanders Association, I teach employee selection, employee discipline, internal

 affairs and in-custody and officer-involved fatality investigation courses to county law

 enforcement and corrections command staff. I am a certified Force Science Analyst, certified by




 Chatwin v. Draper City, et al.
 Report of Kenneth R. l(allentine
 in response to Trevor B. Petersen                6
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1029 Page 8 of 15




the Force Science Research Center at Minnesota State University. I am a Certified Litigation

Professional, certified by the Americans for Effective Law Enforcement.

        I am a licensed attorney, having practiced law since 1990. I am admitted to practice

before the United States Supreme Court, the Courts of Appeals for the Fifth and Tenth Circuits,

and the State and Federal courts in the State of Utah. I am a Master of the Bench of the

American lnns of Court, lnn One, where I also serve as immediate past-President of the Inn of

 Court. I have served both as a Hearing Ofhcer and as the advising Administrative Law Judge for

 appeals before the Utah Career Service Review Board. I have also served as an Administrative

 Law Judge appointed in certain counties and cities in Utah, providing hearing officer and

 appellate hearing services for hearings involving allegations of police officer misconduct and

 other police employment matters.

        I serve as Chairman of the Salt Lake County Peace Officer Merit Service Commission,

 appointed by the Salt Lake County Mayor and the Mayors of the various municipalities that

 comprise the Unif,red Police Department of Greater Salt Lake County. ln that capacíly,I chair

 the commission that oversees the hiring, promotion, discipline and termination of all sworn

 officers of the Salt Lake County Sheriffs Office, Salt Lake County Protective Services Office and

 the Unified Police Department.

        I was the longest serving member of the Utah Board of Mandatory Continuing Legal

 Education, an independent committee serving on behalf of the Utah Supreme Court. I was first

 appointed in 1996 and was reappointed by the Chief Justice to serye through 201 5.

        ln addition to my primary employment, I occasionally consult and provide expert

 opinions on police procedures, and use of force issues. I provide law enforcement academy


 Chatwin v. Draper CitY, et al.
 Report of Kenneth R. l(allentine
 in response to Trevor B. Petersen                7
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1030 Page 9 of 15




 curriculum consulting and accreditation review services for the United States Department of

 Justice. I have also served as a contract consultant to the United States Departrnent of Justice,

 assigned to provide technical assistance and management consulting to various public safety

 entities in the United States,

         I am the co-founder of, and legal advisor to, a best practices advisory group charged with

 developing model policies and best practices under the authority of the Utah Chiefs of Police

 Association, the Utah Sheriffs' Association and various state law enforcement agencies. I

 occasionally perform in-custody death investigations and officer-involved shooting death

 investigations for agencies which may lack the requisite expertise. I am the author of a number

 of best practice policies for law enforcement agencies, and have provided policy drafting and

 policy review services for several agencies, including full policy drafting responsibility for one of

 the state's larger law enforcement agencies.

         I am a former member of the Scientific Working Group on Dog and Orthogonal Factors,

 an internatio nal organization facilitated by the Federal Bureau of Investigation, the Department

 of Homeland Security, and the Transportation Security Administration, with research and peer

 review coordinated by the lntemational Forensic Research Institute at Florida lntemational

 University, established to identify consensus based best practices for the use of canine detection

 teams. Other professional activities pertinent to law enforcement include serving as a Past-

 President of the Utah Peace Officers Association, former Board Member of the Utah SWAT

 Association, member of the lnternational Association of Law Enforcement Educators and

 Trainers Association, consultant to and member of the Califomia Narcotics and Explosive

 Canine Association, member of the lnternational Association of Chiefs of Police and the Utah


 Chatwin v. Draper City, et al,
 Report of Kenneth R. Wallentine
 in response to Trevor B. Petersen                 8
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1031 Page 10 of 15




 Chiefs of Police Association, member of the National Tactical Officers Association, member of

 the Intemational Association of Law Enforcement Firearms lnstructors, member of the

 lnternational Association of Directors of Law Enforcement Standards and Training, member of

 the lnternational Law Enforcement Educators and Trainers Association, and member of the

 United States Police Canine Association.

        I serve as co-Chairman of the Utah Law Enforcement Legislative Committee. ln that

 capacily,I have been involved with all major law enforcement legislative initiatives in the State

 of Utah for more than the past decade. I formerly served as a gubematorial appointee to the

 Council on Peace Officer Standards and Training, under Governor Michael Leavitt, where I

 heard many dozens of contested disciplinary matters and helped direct policy and training for all

 peace officers and corrections officers. I served as a member on the Council on Peace Offrcer

 Standards and Training, under appointment of the Attorney General from January 2013 until my

 retirement.

 4.     My publications (limited to ten years) include the following: I have previously

 published a number of other professional articles, many of which have been subjected to peer

 review. My most recent book, The K9 Officer's Legal Handbook,2nd ed., was published by

 Lexisft{exis Matthew Bender in February 2014, with the 2015 Supplement published in January

 2015. Another book, Street Legal: A Guide to Pre-trial Criminal Procedureþr Police,

 Prosecutors, and Defenders was published in2007 by the American Bar Association Publishing

 Division, It is a treatise on public safety and criminal procedure. My other published works

 include: Supreme Court Decision Casts Doubt on Hotel Registry Ordinances, Police Chief, V.

 81, No, 10 (2015); Body Worn Cameras: Plan Beþre Your Office Buys In, The Sheriff (June


 Chatwin v. Draper City, et al.
 Report of Kenneth R. Wallentine
 in response to Trevor B. Petersen                9
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1032 Page 11 of 15




 2015); Legal Risks of Failing to Carefor Children of Arrested Persons, Police Chief, V. 82,

 (September 2015); A Rational Foundqtion for Use of Force Policy, Training and Assessment,

 2014 (2) AELE Mo. L. J,   l0l; Post Incident Video Review, Police Chief, V. 68, No. l2 (201l);
 Cell Site Location Evidence: A New Frontier in Cyber-Investigation,20ll (2) AELE Mo. L. J,

 501, Prospects, Pitfalls and Pains of Social Media and Public Sof"ty, The Municipal Lawyer,

 September 2010; Police Department May Read Text Messages Sent on Agency-issued Pagers:

 City of Ontorio, California v. Quon, Police Chief, V . 57 , No. 8 (2010); Collection of DNA Upon

 Arrest: Expanding Investigative Frontiers, Police Chief, V. 57, No. I (2010); Targeting TASER:

 The New TASER Aim Points, Law Officer, January 2010; The Risþ Continuum: Abandoning the

 Use of Force Continuum to Enhance Risk Management, The MunicipalLawyer, July 2009;

 Explosive Detector Dog Legal Issues, K9 Cop, February 2009; Does Police Service Dog

 Deployment Equal Deadly Force?, K9 Cop, April2009; Human Scent Line-up Evidence, Police

 K9 Magazine, August 2009; Aclvtowledging Gender in Fitness Standards for Police: An

 Invitation to Liability?, The Municipal Lawyer, January 2008; K9 Court Testimony, Police K9,

 December 2006; United States Supreme Court Reviewfor Corrections Managers, Corrections

 Managers Report, October 2006.

 5.     My fee schedule is established as follows: I charge $250.00 per hour for examination of

 reports and documents, site visits, interviews, administrative tribunal, deposition or court

 testimony, with a minimum of $1,000.00 for deposition or court testimony. I bill for actual travel

 expenses and a travel fee of $1,000.00 per daylpart-day for travel to western states and $1,500.00

 per daylpart-day outside westem states.




 Chatwin v. Draper City, et al.
 Report of Kenneth R. Wallentine
 in response to Trevor B. Petersen                t0
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1033 Page 12 of 15




 6.       My prior experience as an expert witness (limited to the past four years) includes

 the following cases: I have been qualified as an expert in the subject matter of police

 procedures, including use of TASER@ devices, excessive force, shootings and wrongful death

 claims, search and seizure, police service dog use, both in drug detection and dog bites, and I

 have never had a court decline to find that I am a qualified expert witness. I have testifìed andlor

 provided depositions and trial testimony in the following cases which may be generally related to

 the subject of the instant litigation in the past four years: Gonzales v. Campbell,No.

 CV-15-00064-PHX,NVW, United States District Court for the District of Arizona,2016.

 Deposition testimony given on behalf of defendant. Subject matter: excessive force. McDonald

 v. Dupnik,No. C20142895 Superior Court, State of Arizona,Pima County, 2016. Trial and

 deposition testimony given on behalf of defendants. Subject matter: excessive force. Talley v.

 City of Charlotte,No. No. 3:14 CV 683, United States District Court for the Westem District of

 North Carolina, 2016. Deposition testimony given on behalf of the defendants. Subject matter:

 negligent custody. McKenney v. Mangino, No. 2:15-CV-73-JDL, United States District Court for

 the District of Maine, 2015. Deposition testimony given on behalf of defendant. Subject matter:

 wrongful death. Moore v. City of Lakeland, No. 8:13-cv-02660-T-26TBM, United States District

 Court for the Middle District of Florida,2015. Trial testimony given on behalf of defendant.

 Subject matter: excessive force. Frasier v. McCallum, et a/., No. 1:14-cv-00009-MP-GRJ,

 United States District Court for the Northern District of Florida, 2015. Deposition testimony

 given on behalf of defendant. Subject matter: mistaken arrest. Woffis v. City of Gainesvil/e, No.

 1:   l4-cv- I 30, United States District Court for the Northem District of Florida, 201 5. Deposition

 testimony given on behalf of defendant. Subject matter: excessive force. Castillo v. City of


 Chatwin v. Draper City, et al.
 Report of Kenneth R. Wallentine
 in response to Trevor B. Petersen                   ll
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1034 Page 13 of 15




 Tempe, No. 2:12-CV-02225-ROS, United States District Court for the District of Arizona, 2015.

 Trial testimony given on behalf of defendants. Subject matter: excessive force. Stoedter v. Salt

 Lake County, et al., No.2:12-CY-255-BJ, United States District Court for the District of Utah,

 2015. Trial and deposition testimony given on behalf of the defendants. Subject matter: police

 force to effect arrest. l(illiams v. TASER, Internat'l and the City of Charlotte, No. 3:12-CV-838,

 United States District Court for the Westem District of North Carolina, 2014. Deposition

 testimony given onbehalf of the defendants. Clarkv. Box Elder County et al., No. l:13-cv-

 00079-CW, United States District Court for the District of Utah, 2014. Deposition testimony

 given on behalf of the defendants. Campbell & Gemperline v. City of Springboro et al.,No.

 l:08-cv-00737, United States District Court for the Southern District of Ohio, 2013. Deposition

 testimony given on behalf of the defendants. Thompson v. City of Lebanon, No. l:10-CV-0035,

 United States District Court for the Middle District of Tennessee,2013. Deposition testimony

 given on behalf of the defendants. Chief v. llest Valley City Police, et al., No.2:II-CY-643,

 United States District Court for the District of Utah, 2013. Deposition testimony given on behalf

 of the defendants. Stoedter v. Salt Lake County, et al.,No.2:12-CY-255-BJ, United States

 District Court for the District of Utah, 201 3 . Deposition testimony given on behalf of the

 defendants. Texiera v. United States of America, et al.,No.2:I|-CY-02022,United States

 District Court for the District of Nevada, 2013. Deposition testimony given on behalf of the

 defendants. Boggs v. City of Waterloo, No. LACVI16584-CW, Blackhawk County District

 Court, 2013. Deposition testimony given on behalf of defendants. Schmidtke v. Marion County

 Sheriff et a/., No. 5:10-CY-293-OC- l0prl, United States District Court for the Middle District of

 Florida, 2012. Deposition testimony given on behalf of the defendants. Alusa v. Salt Lake

 Chatwin v. Draper City, et al.
 Report of Kenneth R. Wallentine
 in response to Trevor B. Petersen                l2
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1035 Page 14 of 15




 County Sherffi et al., No.2:l l-CV-00184-CW, United States District Court for the District of

 IJtah,2012. Deposition testimony given on behalf of the defendants. Woodward v. City of

 Gallatin, et al.,No.3:10-CV-01060, United States District Court for the Middle District of

 Tennessee, 2012. Deposition testimony given on behalf of the defendants. Minor v. Johnson, et

 a/., No. 1016-CV08762,Circuit Court of Jackson County, Missouri, 2012. Deposition testimony

 given onbehalf of defendants. Garciav. Sacramento City, et al.,No.2:10-CV-00826-JAM-

 KJN, United States District Court of California, Eastern Division, 2012. Deposition testimony

 given on behalf of the defendants.

         The observations and opinions stated herein are preliminary, insofar as additional

 information may be provided to me through the course of discovery and other incidents of the

 litigation process. They are based on the best information presently known to me. I have

 assumed the general accuracy of the documents, statements, and reports, excepting those

 expressed as opinions and those conflicting one with another and/or conflicting with physical

 evidence, that were provided to me. The opinions herein may be supplemented and/or revised

 upon receipt of additional information, including, but not limited to, further deposition

 testimony, consideration of any report submitted by plaintiffls experts, further investigation

  andlor further witness interviews. I may supplement this report upon completion of depositions

 of witnesses in this matter andlor upon being provided with other investigative documents,

  andlor diagfams, video and photographs. I may also supplement this report upon being granted

 leave to inspect the site from the various perspectives of witnesses who claim to have observed

 plaintiff s arrest.




  Chatwin v. Draper City, et al.
 Report of Kenneth R. LVallentine
 in response to Trevor B. Petersen                t3
Case 2:14-cv-00375-DAK Document 54-2 Filed 03/30/16 PageID.1036 Page 15 of 15




        My trial testimony may be supported by exhibits that include the pleadings, documents,

 statements, depositions, diagrams, photographs, and reports listed herein, as well as illustrative

 evidence such as a visual presentation of computer-generated slides and visual images projected

 onto a screen, charts, graphs, or illustrations created to better illustrate the aforementioned

 documents.




 Kenneth R. Wallentine
 March 30,2016

 Kenneth R. Wallentine
 5272 South College Drive, Suite 200
 Murray, Utah84L23




 Chatwin v. Draper City, et al,
 Report of Kenneth R. llallentine
 in response to Trevor B. Petersen                  t4
